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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 3:08cr22-008LAC

WARREN MUMPOWER a/k/a Lizzard
                                                               USM # 05894-018

                                                               Defendant’s Attorney:
                                                               Gary Printy (Appointed)
                                                               1804 Miccosukee Commons Drive
                                                                Suite 200
                                                               Tallahassee, Florida 32308
___________________________________
                        JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty on Counts 1,2,12,22,35, and 40 of the Superseding Indictment on
January 14, 2009. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such
counts which involve the following offenses:
       TITLE/SECTION                             NATURE OF                  DATE OFFENSE
          NUM BER                                 OFFENSE                    CONCLUDED            COUNT

 18 U.S.C. § 2252A(g)             Engaging in a Child Exploitation          March 18, 2008          One
                                  Enterprise

 18 U.S.C. §§ 371,                Conspiracy to Advertise the Exchange      March 18, 2008          Two
 2251(e), 2252A(b) and            of Child Pornography, Knowingly
 1512(k)                          Transporting, and Shipping Child
                                  Pornography in Interstate and Foreign
                                  Com m erce via the Com puter,
                                  Possession of Child Pornography
                                  Shipped or Transported in Interstate
                                  Com m erce, Receipt and Attem pted
                                  Receipt of Child Pornography and
                                  Obstruction of Justice

 18 U.S.C. § 2251(d)(1)           Advertising the Exchange of Child         March 18, 2008        Twelve
 and (2)                          Pornography

 18 U.S.C. §§                     Knowingly Transporting and Shipping       March 18, 2008      Twenty-Two
 2252A(a)(1) and 2                Child Pornography in Interstate and
                                  Foreign Com m erce via the Com puter

 18 U.S.C. §§                     Receipt and Attem pted Receipt of         March 18, 2008       Thirty-Five
 2252A(a)(2) and 2                Child Pornography

 18 U.S.C. § 1512(c)(2)           Obstruction of Justice                    March 18, 2008         Forty

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.



                                                             Date of Imposition of Sentence:
                                                             July 21, 2009




                                                             s /L.A. Collier
                                                             LACEY A. COLLIER
                                                             SENIOR UNITED STATES DISTRICT JUDGE

                                                             July 24, 2009
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                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Life as to Count 1; 600 months as to Counts 2 and 12; 480 months
as to Counts 22 and 35, and 240 months as to Count 40, with each count to run concurrent,
one with the other.

The Court recommends to the Bureau of Prisons: The defendant shall participate in a Sex Offender
Treatment Program or other such similar program offered through the Bureau of Prisons

         The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                             SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of Life as to Counts 1, 2, 12, 22, and 35, and a term of 3 years as to Count 40, with each
count to run concurrent, one with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the perm ission of the court or probation
         officer;

2.       The defendant shall report to the probation officer and shall subm it a truthful and com plete written
         report within the first five days of each m onth;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or adm inister any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or adm inistered;

9.       The defendant shall not associate with any persons engaged in crim inal activity and shall not
         associate with any person convicted of a felony unless granted perm ission to do so by the probation
         officer;
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10.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and
         shall perm it confiscation of any contraband observed in plain view of the probation officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law
         enforcem ent agency without the perm ission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be
         occasioned by the defendant’s crim inal record or personal history or characteristics and shall perm it
         the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such
         notification requirem ent.

14.      If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Paym ents set forth in
         the Crim inal Monetary Penalties sheet of this judgm ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         In accordance with 42 U.S.C. § 16913 and Florida Statutes 775.21 and 943.0435, the defendant shall
         register as a sex offender in each jurisdiction where he resides, is em ployed, or is a student. For initial
         registration purposes, the defendant shall also register in the jurisdiction in which he was convicted
         if such jurisdiction is different from the jurisdiction of residence. The defendant shall initially register
         before com pleting a sentence of im prisonm ent with respect to the offense giving rise to the
         registration. The defendant is required to keep the registration current by appearing in person in at
         least one jurisdiction in which the defendant is registered and reporting any changes in nam e,
         residence, em ploym ent, or student status not later than 48 hours after the change has occurred.

         The defendant shall participate in a sex offender treatm ent program which m ay include testing by the
         treatm ent provider. The defendant m ay be required to pay or contribute to the cost of services
         rendered based upon financial ability.

         The defendant shall subm it to a search of his person, property, house, residence, vehicle, papers,
         com puter, other electronic com m unication or data storage devices or m edia, and effects at any tim e,
         with or without a warrant, by any law enforcem ent or probation officer with reasonable suspicion
         concerning unlawful conduct or a violation of a condition of supervised release pursuant to 18 U.S.C.
         § 3583(d).

         The defendant shall not possess or have under his control any pornographic, sexually oriented, or
         sexually stim ulating m aterial, including visual, auditory, telephonic, or electronic m edia. The defendant
         shall also not patronize any establishm ent where such m aterial or entertainm ent is available.

         The defendant shall not possess nor have under his control any m aterial that depicts sexual activities
         with m inors or actors representing them selves to be under the age of eighteen.
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         The defendant shall not possess or use a com puter, cellular telephone, or any device with access to
         any on-line service at any tim e (including em ploym ent) at any location without prior written approval
         from the supervising probation officer. This includes access through any Internet service provider,
         bulletin board system , e-m ail system , or any public or private com puter network system . The
         defendant shall perm it routine inspection of his com puter system or any other com puter system
         m aintained at the defendant’s residence to include hard drives and any m edia storage m aterials, to
         confirm adherence to this condition. The inspection shall be no m ore intrusive than is absolutely
         necessary to ensure com pliance with the defendant’s conditions of supervision. The defendant shall
         consent to the installation of any hardware/software system s designated to m onitor com puter activities
         on any com puter the defendant is authorized to use. The defendant shall inform his em ployer, or other
         third party who m ay be im pacted by this condition, of this com puter-related restriction and the
         com puter inspection provisions of the condition. Further, the defendant shall be required to contribute
         to the costs of the com puter m onitoring based upon his financial ability at the tim e.

         The defendant’s em ploym ent shall be restricted to the district and division where he resides
         and is supervised, unless approved by the Court. Prior to accepting any form of em ploym ent,
         the defendant shall seek the approval of the probation officer, in order to allow the probation
         officer the opportunity to assess the level of risk to the com m unity the defendant will pose
         if em ployed in a particular capacity. Em ployers shall be inform ed of the defendant’s offense
         of conviction.

         The defendant’s residence shall be pre-approved by the probation officer to ensure the defendant is
         in com pliance with local or county ordinances and state law.

         The defendant shall not rent or have control of a post office box or storage unit, without prior
         knowledge and approval of the supervising probation officer. The defendant is also required to allow
         the supervising probation officer access to the post office box or storage unit as deem ed warranted
         to enforce any conditions im posed by this Court.

         The defendant shall not have any contact, other than incidental contact in a public forum such as
         ordering in a restaurant, grocery shopping, etc., with any person under the age of eighteen
         without the prior perm ission of the supervising probation officer. Any approved contact shall be
         supervised by an adult at all tim es. The contact addressed in this condition includes, but is not lim ited
         to, direct or indirect contact, whether personally, by com puter, telephone, letter or through a third
         party. If the defendant has any contact with any child (person under the age of 18), not otherwise
         addressed in this condition, the defendant is required to im m ediately rem ove him self from the
         situation and notify the probation officer im m ediately.

         The defendant is prohibited from volunteering, engaging in leisure activities, or frequenting places
         where m inor children congregate, including, but not lim ited to, schools, swim m ing areas, parks,
         playgrounds, child care facilities, shopping m alls, arcades, theaters, and other recreational areas.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                       Date




         U.S. Probation Officer/Designated Witness                       Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
          Special
    Monetary Assessment                                      Fine                    Restitution

               $600.00                                     $25,000.00                    $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $600.00 ($100.00 each count) is imposed and is to be
paid immediately.

                                                             FINE

A fine in the amount of $25,000.00 is imposed and is to be paid immediately.


No restitution imposed.
